     Case 3:16-cr-00479-N Document 471 Filed 05/17/19          Page 1 of 1 PageID 1765
                     IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

UNITED STATES OF AMERICA                     §
                                             §
v.                                           §   Crim Action No. 3:16-CR-00479-N
                                             §
CARLOS LUIS VENEGAS (1)                      §

                                 NOTICE OF APPEAL

Defendant Carlos Luis Venegas gives notice that he is appealing his conviction and

sentence in this case to the United States Court of Appeals for the Fifth Circuit from the

judgment on 17 May 2019 (document no. 468 ). Defendant Venegas has retained

attorney Patrick J. McLain as counsel for the appeal in this case.

                                          Respectfully Submitted,


                                          /s/ Patrick J. McLain

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                             CERTIFICATE OF SERVICE

I certify that a true and exact copy of this Notice of Appeal was served electronically via
the CM/ECF system to the Office of the United States Attorney for the Northern District
of Texas on 17 May 2019.
                                             /s/ Patrick J. McLain

                                          Patrick J. McLain
                                          Attorney for Carlos Luis Venegas
